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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

ALEX MCNAMARA,

      Plaintiff,

v.                                                    Case No: 8:21-cv-618-MSS-JSS

BRENNTAG MID-SOUTH, INC.,

      Defendant.



                                       ORDER

      THIS CAUSE comes before the Court for consideration of Plaintiff’s

Unopposed Motion for Preliminary Approval of Class Action Settlement. (Dkt. 22)

Plaintiff seeks an Order: (1) preliminarily approving the proposed settlement

agreement; (2) preliminarily certifying a class for settlement purposes only; (3)

approving the form and manner of notice to the class; and (4) scheduling a fairness

hearing for the final consideration and approval of the parties’ settlement. (Id.)

Defendant does not oppose the relief sought. (Id. at 29) The Court has considered

Plaintiff’s motion, proposed settlement agreement (“Settlement Agreement”), (Dkt.

22-2), and the entire record of this case. The Court hereby ORDERS that Plaintiff’s

Motion, (Dkt. 22), is GRANTED as follows:

      1.     Incorporation of Definitions. This Order incorporates by reference the

definitions set forth in Plaintiff’s Motion and the Settlement Agreement, and all terms

used herein shall have the same meaning as set forth in those filings.
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      2.      Preliminary Approval of Proposed Settlement. The Settlement

Agreement, including all exhibits thereto, is preliminarily approved as fair, reasonable,

adequate, and within the range of reasonableness for preliminary settlement approval.

The Court preliminarily finds that the Settlement Agreement resulted from extensive

arm’s length negotiations and is sufficient to warrant notice of the Settlement to

persons in the Settlement Class and a full hearing on the approval of the Settlement.

      3.      Class Certification for Settlement Purposes Only. Plaintiff seeks

certification of one settlement class based on Rule 23(b)(3) of the Federal Rules of Civil

Procedure. Pursuant to Rule 23(c), the court conditionally certifies, for settlement

purposes only, the following settlement class:

           All participants and beneficiaries in the Defendant’s Health Plan who
           were sent COBRA Notice by Defendant during the Class Period as a
           result of a qualifying event, as determined by Defendant, who did not
           elect COBRA.

      In connection with this conditional certification, the Court makes the following

preliminary findings for settlement purposes only:

           A. The Settlement Class includes approximately 906 individuals is so

              numerous that joinder of all members is impracticable;

           B. There appear to be questions of law or fact common to the Settlement

              Class for purposes of determining whether this Settlement should be

              approved;

           C. Plaintiff’s claims appear to be typical of the claims being resolved through

              the proposed settlement as the class;



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            D. Plaintiff appears to be capable of fairly and adequately protecting the

               interests of all Settlement Class Members in connection with the

               proposed settlement as to the class;

            E. Common questions of law and fact appear to predominate over questions

               affecting only individual persons in the Settlement Class. Accordingly,

               the Settlement Class appears to be sufficiently cohesive to warrant

               settlement by representation; and

            F. Certification of the Settlement Class appears to be superior to other

               available methods for the fair and efficient resolution of the claims of the

               Settlement Class.

      4.       Class Counsel. Based on the considerations in Rule 23(g), the Court

appoints Luis A. Cabassa and Brandon J. Hill of Wenzel Fenton Cabassa, P.A., and

Marc Edelman of Morgan & Morgan, P.A., as Class Counsel for the Settlement Class.

      5.       Standing. Based on the findings above, the Court appoints Plaintiff Alex

McNamara as Class Representative for the Settlement Class members and determines

on the Parties’ stipulation that the well-pleaded Complaint established Article III

standing.

      6.       Class Notice. The Class Notice is approved for distribution in accordance

with the schedule included in the Settlement Agreement.

      7.       Initial Motion for Fees and Expenses. Pursuant to Rule 23(h), Class

Counsel is directed to file their motion for attorney fees and expenses at least fourteen

days prior to the objection period expiring.


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Counsel of Record
Any Unrepresented Person




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